                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

TENNESSEE CONFERENCE of the                         )
NATIONAL ASSOCIATION for the                        )
ADVANCEMENT of COLORED                              )
PEOPLE, et al.,                                     )
                                                    )        NO. 3:20-cv-01039
     Plaintiffs,                                    )
                                                    )        JUDGE CAMPBELL
v.                                                  )        MAGISTRATE JUDGE FRENSLEY
                                                    )
WILLIAM LEE, et al.,                                )
                                                    )
     Defendants.                                    )

                                               ORDER

         Pending before the Court is Defendants’ motion for summary judgment on Counts 1-3 in

the present matter (Doc. Nos. 150, 151), which is fully briefed. (Doc. Nos. 278, 287). Defendants

filed 24 exhibits in support of their pending motion. (See Doc. Nos. 151-1 through 151-18; Doc.

Nos. 157-1 through 157-8). Plaintiffs filed 79 exhibits in support of their response in opposition.

(See Doc. Nos. 275-1 through 275-79; see also Doc. No. 291).

         As is clear to the Court and, no doubt, the parties, genuine disputes of material fact pervade

the record in this matter as it relates to Plaintiffs’ procedural due process and equal protection

claims (Counts 1-3). Summary judgment is appropriate only where there is “no genuine dispute as

to any material fact” and the movant shows they are “entitled to judgement as a matter of law,”

Fed. R. Civ. P. 56(a), “which requires showing that no ‘reasonable jury could return a verdict for

the nonmoving party.’” Caudle v. Hard Drive Express, Inc., 91 F.4th 1233, 1237 (6th Cir. 2024)

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). Defendants, as the parties

bringing the present summary judgment motion, have “the initial burden of informing the district

court of the basis for [their] motion and identifying portions of the record that demonstrate the



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absence of a genuine dispute over material facts,” Rodgers v. Banks, 344 F.3d 587, 595 (6th Cir.

2003), either “by presenting affirmative evidence that negates an element of the non-moving

party's claim or by demonstrating ‘an absence of evidence to support the nonmoving party's case.’”

Id. (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)). To determine whether summary

judgment is appropriate, the Court views the evidence and draws all reasonable inferences

therefrom in a light favorable to the non-moving party. See Anderson, 477 U.S. at 249.

       “The Fourteenth Amendment requires states to provide ‘due process of law’ before

depriving ‘any person of life, liberty, or property.’” Bambach v. Moegle, 92 F.4th 615, 624 (6th

Cir. 2024) (quoting U.S. Const. amend XIV, § 1). “Procedural due process rights protect

individuals from deficient procedures that lead to the deprivation of cognizable liberty interests.”

Id. (citations and internal quotations omitted). To prove a procedural due process claim, a plaintiff

must establish that they were deprived of a constitutionally protected interest in life, liberty, or

property through state action and the deprivation occurs without adequate process. See Capen v.

Saginaw Cnty., Michigan, 103 F.4th 457, 462 (6th Cir. 2024). Through their procedural due

process claims (Counts 1-2), Plaintiffs claim they have been deprived of both a state-created liberty

interest in obtaining a certificate of restoration of voting rights (“COR”) and a constitutional liberty

interest in voting rights restoration, and that the process Defendants use to determine whether to

issue individuals a COR lacks procedures that the Due Process Clause requires.

       The Equal Protection Clause of the Fourteenth Amendment “protects against invidious

discrimination among similarly-situated individuals or implicating fundamental rights.”

Scarbrough v. Morgan Cnty. Bd. of Educ., 470 F.3d 250, 260 (6th Cir. 2006). “The Clause

embodies the principle that all persons similarly situated should be treated alike.” Id. (citing City

of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985)). “The threshold element of an



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equal protection claim is disparate treatment; once disparate treatment is shown, the equal

protection analysis to be applied is determined by the classification used by government decision-

makers.” Id. In Count 3, Plaintiffs claim that Defendants’ administration of the COR statutes

results in a system where similarly situated Tennesseans – convicted of the same crime and who

have served the same sentence and met their relevant legal financial obligations – can be granted

or denied access to the right to vote based solely on the county of their felony conviction or

residence, or the person to whom they direct their COR request, and that such arbitrary and

disparate treatment of similarly situated persons seeking to access the franchise violates the Equal

Protection Clause under any level of scrutiny.

       Here, viewing the evidence and reasonable inferences therefrom in a light favorable to

Plaintiffs, as the non-moving parties, Defendants have not shown the absence of genuine disputes

over material facts as to Counts 1-3. (See Doc. Nos. 285, 286). Rather, the parties’ respective

filings show that the majority of the asserted material facts are genuinely disputed, including those

concerning the risk of erroneous deprivation and whether Defendants’ administration of the COR

process results in arbitrary and disparate treatment. (See id.). The Court will not spend its finite

resources identifying every genuine dispute over material facts as to Counts 1-3; Defendants and

their counsel are sophisticated enough to see that the instant motion must be denied on this

contested and fluid factual record. The Court will address the parties’ legal arguments fully in its

opinion after the bench trial in this matter. For the foregoing reasons, Defendants’ motion for

summary judgment on Counts 1-3 (Doc. No. 150) is DENIED.

       It is so ORDERED.


                                                      ___________________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      CHIEF UNITED STATES DISTRICT JUDGE

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